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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 ROBERT G. SWOFFORD JR., and individual
 and his wife, SHARON R. SWOFFORD, an
 individual,

        Plaintiffs,

 v.                                                     Case No.: 6:08-cv-00066-Orl-35DAB

 DONALD ESLINGER, in his official capacity
 as the Sheriff of Seminole County, Florida;
 WILLIAM MORRIS JR.,in his individual
 capacity, and DONALD REMUS, in his
 individual capacity

      Defendants.
 ______________________________________/

                                            ORDER

        THIS CAUSE comes before the Court upon consideration of: (1) Defendants’ Motion

 in Limine to Exclude or Limit Testimony of Dr. Karen Overall and Dr. Lawrence Myers (Dkt.

 87); (2) Plaintiffs’ Motion in Limine to Exclude or Limit Testimony of Charles Mesloh (Dkt. 88);

 (3) Plaintiffs’ Motion in Limine to Exclude Testimony of Bruce A. Goldberger, Ph.D. (Dkt. 98);

 and (4) Defendants’ Motion in Limine to Exclude or Limit Testimony of Dr. Ronald Wright (Dkt.

 100)(collectively, the “Motions”). Upon review, the Court finds that the witnesses that are the

 subject of the Motions meet the requirements of Daubert v. Merrell Dow Pharm., Inc., 509

 U.S. 579 (1993) and its progeny. The aforementioned expert witnesses appear to be

 qualified, and, as proffered on the record before the Court, their testimony falls within

 their level of qualification. Accordingly, it is hereby



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        ORDERED that Defendants’ Motion in Limine to Exclude or Limit Testimony of Dr.

 Karen Overall and Dr. Lawrence Myers (Dkt. 87); (2) Plaintiffs’ Motion in Limine to Exclude

 or Limit Testimony of Charles Mesloh (Dkt. 88); (3) Plaintiffs’ Motion in Limine to Exclude

 Testimony of Bruce A. Goldberger, Ph.D. (Dkt. 98); and (4) Defendants’ Motion in Limine to

 Exclude or Limit Testimony of Dr. Ronald Wright (Dkt. 100) are DENIED without

 prejudice, subject to cross-examination and voir dire at trial.

        DONE and ORDERED in Orlando, Florida, on this 19th day of June 2009.




 Copies furnished to:
 Counsel of Record




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